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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

  In re: ENXTAR ELLOPROP, LLC:                     §
                                                   §             Case No. 23-51806-cag
        Debtor.                                    §                  Chapter 11
  ___________________________________              §


         CREDITOR MIDFIRST BANK’S NOTICE OF APPEARANCE OF COUNSEL

  TO THE HONORABLE JUDGE OF SAID COURT:

           Please take notice that the undersigned and the law firm of Lewis Brisbois Bisgaard &
  Smith LLP, hereby appears as additional counsel for Creditor MidFirst Bank and request all
  notices given or required to be given in this case, and all papers served or required to be served
  in this case, including, without limitation, notices and any orders, applications, complaints,
  demands, hearings, motions, petitions, pleadings or requests, and any other documents brought
  before this Court in this case, whether formal or informal, whether written or oral, and whether
  transmitted or conveyed by mail, telephone, facsimile or otherwise be served upon the
  undersigned attorney at the following address:

                                   MARK D. CRONENWETT
                                     Texas Bar No. 00787303
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                                        VIVIAN LOPEZ
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                                             Respectfully submitted,

                                          By: /s/ Mark D. Cronenwett
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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on July 25, 2024, a true and correct copy of the foregoing
  document was delivered to the following in the manner indicated:

  Via ECF:
  DAVID T. CAIN
  8626 Tesoro Dr, Suite 811
  San Antonio, TX 78217
  Attorney for Debtor(s)

  Via ECF:
  U.S. TRUSTEE (SAN ANTONIO DIVISION)
  615 E. HOUSTON STREET, SUITE 533
  SAN ANTONIO, TX 78205

  Via ECF:
  11 US Trustee
  Office of The United States Trustee
  615 E. Houston Street, Suite 533
  San Antonio, TX 78205

  Via U.S. Mail:
  Entxar Elloprop LLC
  20003 Penrice Dr
  Katy, TX 77450
  Debtor(s)

                                                     /s/ Mark D. Cronenwett
                                                     MARK D. CRONENWETT




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